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                               Exhibit 15



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Tetkoski, Frank T.                                            December 11, 2008
                                  Baltimore, MD

                                                                               Page 1
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

    PRICE LITIGATION               )   01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        )   Chief Magistrate

    Abbott Laboratories, Inc.,     )   Judge Marianne B.

    No. 06-CV-11337-PBS            )   Bowler

    - - - - - - - - - - - - - - -

              (captions continue on following pages)




          Videotaped deposition of FRANK T. TETKOSKI



                               Baltimore, Maryland

                               Thursday, December 11, 2008

                               9:00 a.m.




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                              Baltimore, MD

                                                                              Page 2
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 2

 3

 4             Videotaped deposition of FRANK T. TETKOSKI, held
 5    at the Renaissance Baltimore Harborplace Hotel, 202
 6    East Pratt Street, Baltimore, Maryland 21202, the
 7    proceedings being recorded stenographically by
 8    Jonathan Wonnell, a Registered Professional Court
 9    Reporter and Notary Public of the State of Maryland,
10    and transcribed under his direction.
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                                                                           Page 146
 1                      A F T E R N O O N          S E S S I O N
 2                                                                 (1:44 p.m.)
 3                                *    *   *   *   *
 4                   Whereupon,
 5                            FRANK T. TETKOSKI,
 6                    the witness testifying at the time of
 7             recess, having been previously duly sworn,
 8             was further examined and testified as
 9             follows.
10                                *    *   *   *   *
11                     THE VIDEOGRAPHER:        This is the beginning of
12     tape 3 in the deposition of Frank Tetkoski.                    On the
13     record at 1:44.
14    EXAMINATION RESUMED BY COUNSEL FOR ABBOTT LABORATORIES
15                     BY MR. TORBORG:
16             Q.      Welcome back, Mr. Tetkoski.
17             A.      Thank you.
18             Q.      You stated at the end of our last session
19     before we took a break that you believed that any
20     margin would be unacceptable on ingredient cost
21     payments; is that right?
22                     MS. YAVELBERG:       Objection, form.


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                                                                           Page 147
 1             A.      With the idea being that they should be
 2     separate, that ingredients should be reimbursed
 3     separately from dispensing fee.
 4             Q.      Is it your testimony that any margin paid
 5     on the ingredient side, for whatever reason, is in
 6     violation of federal regulations?
 7                     MS. YAVELBERG:       Objection, form.
 8             A.      I think it's a practical aspect there.
 9     It's impossible, I guess, to pay exactly.                   So you have
10     to do your best on that.            But your goal should be to
11     pay as close as possible for the ingredient cost.
12             Q.      And you've had discussions within the
13     department, have you not, that it would be necessary
14     at least to have some profit in order to keep
15     providers in the system, right?
16                     MS. YAVELBERG:       Objection, form.
17             A.      Profit?    Pharmacies have to make a profit I
18     guess to stay in business.             I guess if you have to err
19     on one side, you could probably err on slightly
20     overpaying if you had to err.
21             Q.      And you were around the department when --
22     and we'll get into this documents later, but you were


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                                                                           Page 186
 1             A.      No, I really don't.
 2             Q.      Under the section comments these minutes
 3     indicate "We presented the results of our AWP review.
 4     State officials believed that our results were in line
 5     with what they had anticipated and confirmed that
 6     current state practices of reimbursing ingredient cost
 7     below AWP was appropriate."             Do you see that?
 8             A.      Below AWP, yeah.
 9             Q.      Do you recall that OIG's findings were
10     consistent with your expectations?
11                     MS. YAVELBERG:       Objection, form.
12             A.      Looking back on it I guess if you're
13     looking for numeric, I think in my mind I had maybe
14     around minus 13 or 14 or 15 and it turned out to be
15     the minus 18 for your retail pharmacies.                  So looking
16     back we knew it would be below AWP, but I think the
17     little surprise was that -- yeah, it was a little more
18     than we thought.
19             Q.      How about for generics?           They had found I
20     think on the national level AWP minus about 42 and a
21     half.     Was that a surprise to you?
22             A.      I knew generics would be more.              I don't


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                                                                           Page 187
 1     know what the statistical amount is.                 But there seems
 2     to be with brand names more consistency.                  With
 3     generics there doesn't seem to be the consistency
 4     there, if you know what I'm getting at.                  So generics
 5     you knew they were off.           Yeah, the number was a
 6     surprise I guess being that much, this average.
 7             Q.      And OIG had said the average was AWP minus
 8     I think 42.5, right?
 9             A.      (Nods head).
10             Q.      And Maryland was AWP minus 41.9, right?
11             A.      What --
12             Q.      I think the Maryland-specific findings were
13     AWP minus 41.9 percent for generics?
14             A.      For Maryland.       Something like that.              Pretty
15     close.
16             Q.      And you knew that there would be generic
17     products where the discount was less than 42 percent,
18     right?
19             A.      If that's an average, yes.
20             Q.      And you knew that there would be products
21     that had discounts of higher than 42 percent, right?
22             A.      Right.


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